             Case 2:17-cv-00770-TSZ Document 14 Filed 12/21/17 Page 1 of 1



 1

 2

 3

 4

 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
          KYANN FLINT,
 8                              Plaintiff,
                                                         C17-770 TSZ
 9            v.
                                                         MINUTE ORDER
10        ALOHA POKE FAIRHAVEN LLC,
11                              Defendant.

12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:
          (1)     The parties are ORDERED to show cause by January 26, 2018, why this
14
   action should not be dismissed for failing to comply with the Court’s Order, docket
   no. 13, requiring the parties to submit their Joint Status Report by December 11, 2017.
15
   Absent timely response to this Minute Order, this action shall be DISMISSED without
   prejudice.
16
          (2)     The Clerk is directed to send a copy of this Minute Order to all counsel of
17 record.

18         Dated this 21st day of December, 2017.

19
                                                     William M. McCool
20                                                   Clerk

21                                                   s/Karen Dews
                                                     Deputy Clerk
22

23

     MINUTE ORDER - 1
